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UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF NEW YORK
e 445 Broadway, Albany, NY 12207-2936 e

Unified United States Common Law Grand Jury; ' Sureties of the Peace’

P.O. Box 59, Valhalla, NY 10595, Fax (888) 891-8977.

Ady AN, AZ, AR, CM, CD, £% NG, Fy CA, Mi, AD, A, JV, 1A, AB, NY, LA, ANG, AAD, AMA, AU AIM, AS, OC) AFT, NIE, WAS NUM ALL NING, ATK, ANG NID OM, OG, JOR, VR, SG, SE) EM, NU, MT, AN, aa, ee

 

 

FILE ON DEMAND UNDER PENALTY OF LAW

 

Dear Clerk;
RE: Concealment and/or removal

Please read carefully. You are directed to file the enclosed non-statutory documents unimpeded
as required by law. This is a non-statutory extraordinary action for an extraordinary remedy
under the Common Law and being non-statutory no fee is required. The Clerk has not been
given any adjudicated powers over the filing and is bound by law under Rule 60 Title X which
provides for the duties of the Clerk, by which you are sworn and bound by oath under penalty
of Law to perform without exception, promulgated pursuant to Title 50 United States Code
§1803(g) which shall govern all proceedings. Under said rule the clerk is to:

(a) Delegate duties to staff as the presiding judge may authorize.
(b) (1) The Clerk is to maintain the court's docket and records;
(2) The Clerk is to accept papers for filing;
(3) The Clerk is to keeps all records in a secured location; and
(4) The Clerk is to perform any other duties, consistent with the usual powers of a Clerk
of Court, as the presiding judge may authorize.

Immediately upon receiving the enclosed documents clerk is directed to time stamp the
original and place the enclosed time stamped copy of the cover into the provided self-
addressed stamped envelope and deposit it in the U.S. Mail immediately. Inconsistencies
between the time stamps of the Clerk, the certified delivery and the post-date of the returned
cover in its self-addressed stamped envelope may be considered evidence of conspiracy before
the Grand Jury.

 

‘The UUSCLG3 is comprised of fifty Grand Jurys each unified amongst the counties within their respective States. All
fifty States have unified nationally as an assembly of Thousands of Peonle in the name of We the People to suppress,
through our Courts of Justice, subverts both foreign and domestic acting under color of law within our governments. States
were unified by re-constituting all 3,133 United States counties.

? SURETIES OF THE PEACE: If anyone has been dispossessed without the legal judgment of his peers, from his lands,
castles, franchises, or from his right, we will immediately restore them to him; and if a dispute arise over this, then let it be
decided by the five and twenty jurors of whom mention is made below in the clause for securing the peace. Moreover, for
all those possessions, from which anyone has, without the lawful judgment of his peers, been disseized or removed by our
government, we will immediately grant full justice therein. Magna Carta Paragraph 52.

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Under rule (b)2 and pursuant to 18 U.S.C.§1519 if the Clerk [upon their own or under
direction] alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in
any record, document, or tangible object shall be fined under this title, imprisoned not more
than 20 years, or both; and

Pursuant to 18 U.S.C.§1001 concerning entries generally: (1) whoever, in any matter within
the jurisdiction of the judicial branch of the Government of the United States, falsifies,
conceals, or covers up by any trick, scheme, or device a material fact shall be fined under this
title, imprisoned not more than 5 years; and

Pursuant to 18 U.S.C.§2076: Whoever, being a clerk willfully refuses or neglects to make or
forward any report, certificate, statement, or document as required by law, shall be fined under
this title or imprisoned not more than one year, or both; and

Pursuant to 18 U.S.C.§1512(b): Whoever [including judges] obstructs or impedes any official
proceeding shall be fined under this title or imprisoned not more than 20 years, or both
[concealment or removal under the direction of a judge is conspiracy]; and

Pursuant to 18 U.S.C.§1512(1)(b) Whoever [including judges] intimidates, threatens, or
corruptly persuades another person [Clerk] to alter, destroy, mutilate, or conceal an object; ...
shall be fined under this title or imprisoned not more than 20 years, or both; and

Pursuant to 18 U.S.C§2071(a) Whoever [including judges] willfully and unlawfully conceals,
removes, mutilates, obliterates, or destroys, or attempts to do so, or, with intent to do so takes
and carries away any record, proceeding, map, book, paper, document, or other thing, filed or
deposited with any clerk or officer of any court of the United States, or in any public office, or
with any judicial or public officer of the United States, shall be fined under this title or
imprisoned not more than three years, or both [concealment or removal under the direction of a
judge is conspiracy]; and

Pursuant to 18 USC §2071(b) Whoever [the Clerk], having the custody of any such record,
proceeding, map, book, document, paper, or other thing, willfully and unlawfully conceals,
removes, mutilates, obliterates, falsifies, or destroys the same, shall be fined under this title or
imprisoned not more than three years, or both; and shall forfeit his office and be disqualified
from holding any office under the United States [concealment or removal under the direction
of a judge is conspiracy].

The enclosed action against the federal judiciary is a serious matter of subversion against the
United States of America by enemies foreign and domestic, carrying austere penalties upon all
that enable.

August 14, 2019

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Grand Jury Foreman

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